
On 30 May 2017, the Supreme Court of the United States granted certiorari and vacated and remanded this Court's judgment in Dickson v. Rucho, 368 N.C. 481, 781 S.E.2d 404 (2015), modified, 368 N.C. 673, 789 S.E.2d 436 (2016). Dickson v. Rucho, --- U.S. ----, 137 S.Ct. 2186, 198 L.Ed.2d 252 (2017) (per curiam). The Supreme Court's instruction to this Court is to review Dickson "for further consideration in light of Cooper v. Harris, 581 U.S. ----, 137 S.Ct. 1455, ----, 197 L.Ed.2d 837 (2017)." Dickson, --- U.S. ----, 137 S.Ct. 2186, 198 L.Ed. 2d 252. Pursuant to the Supreme Court's remand and instruction, and after careful consideration, this Court remands this case to the trial court to determine whether (1) in light of Cooper v. Harris and North Carolina v. Covington, a controversy exists or if this matter is moot in whole or in part; (2) there are other remaining collateral state and or federal issues that require resolution; and (3) other relief may be proper. See Cooper v. Harris, 581 U.S. ----, 137 S.Ct. 1455, ----, 197 L.Ed.2D 837 (2017) (per curiam) and North Carolina v. Covington, --- U.S. ----, 137 S.Ct. 1624, 198 L.Ed.2d 110 (2017) (per curiam).
